Case 3:17-cv-00072-NKM-JCH Document 238 Filed 02/26/18 Page 1 of 1 Pageid#: 1482
                                                                                 cLEnx's oFs cE u .a nlsT.coum -
                                                                                     AT cFA u orrEsvlLE,vh
                                                                                             FILED
                                                                                         FEB 2.5 2218
                                                                                     J lA        U LEK CLERK
                             U NITED STATES D ISTRICT CO UR T                       BP
                        FO R TH E W ESTER N DISTRICT OF W R GINIA                                   LE K
                                    C harlottesville D ivision


   ELIZABETH SINES,etal.                         j
          Plaintiffs,                            j
                                                 j CW IL ACTION
   v.                                            j
                                                 j FILE NO.:17-cv-00072-NKM
   JASON KESSLER,eta1.                           j
                                                 j
          Defendants.                            j
                                  CERTIFICATE O F SERW CE

          TH IS IS TO CERTIFY that1have this day served a copy ofthe foregoing M O TIO N T O

   QUASH SUBPOENA and BRIEF IN SUPPORT THEREOF by emailupon counselfor
   Plaintiffs,RobertT.Cahill,Esq.,atrcahill@ cooley.com,andbyRegularM ail,bydepositingthe
   sam e in the United StatesM ailw ith adequate postage affxed thereto,addressed as follow s:

                        RobertT.Cahill,Esq.
                        Cooley LLP
                        11951 Freedom D rive,14tbFloor
                        Reston,VA 20190-5656

          This23rdday ofFebruary, 2018.

                                                      Respectfully subm itted,




                                                      D ld Duke
                                                      pro se
                                                      240 Garden A venue
                                                      M andeville,LA 70471
                                                      (985)869-0720
                                                      ernestduke@hoe ail.com
